
44 So.3d 1222 (2010)
Christopher L. EDWARDS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-2324.
District Court of Appeal of Florida, Fifth District.
October 1, 2010.
Christopher L. Edwards, Carrabelle, pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the order denying Petitioner's Rule 3.850 motion for post-conviction relief filed in case no. 05-1999-CF-21231-A, in the Circuit Court in and for Brevard County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
PALMER, EVANDER and COHEN JJ., concur.
